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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                                 )
                                                        )       Case No. 20-12377-EEB
 SKLAR EXPLORATION COMPANY, LLC                         )
 EIN: XX-XXXXXXX                                        )       Chapter 11
                                                        )
    Debtor.                                             )
                                                        )
                                                        )
                                                        )       Case No. 20-12380-EEB
 SKLARCO, LLC                                           )
 EIN: XX-XXXXXXX                                        )       Chapter 11
                                                        )
 Debtor.                                               )

  MOTION FOR CLARIFICATION OF ORDERS AND TO AUTHORIZE IMMEDIATE
           OFFSET OF JOINT INTEREST BILLING OBLIGATIONS

          The Debtors, Sklar Exploration Company, LLC (“SEC”) and Sklarco, LLC (“Sklarco”),
 by and through their attorneys, Kutner Brinen, P.C., move the Court for entry of an Order
 clarifying the Final Order Authorizing Use of Cash Collateral, Granting Adequate Protection,
 and Providing Related Relief (Docket No. 433) (“Final Cash Collateral Order”), clarifying the
 Order Authorizing Payment of Working Interest Obligations and Limited Offset of Joint Interest
 Billing Obligations (Docket No. 317) (“Oil and Gas Order”), and authorizing SEC to
 immediately offset joint interest billing obligations owed to SEC by non-compliance working
 interest holders, and in support thereof state as follows:
          1.    The Debtors filed for relief under chapter 11 of the Bankruptcy Code on April 1,
 2020. The Debtors remain Debtors-in-Possession.
          2.    The Office of the United States Trustee appointed an Official Committee of
 Unsecured Creditors (“Committee”) on April 16, 2020.
          3.    SEC is engaged in business as an operator of oil and gas wells and an independent
 exploration and production company in the oil and gas industry. SEC’s principal business
 offices are located in Boulder, Colorado and has additional offices in Shreveport, Louisiana and
 Brewton, Alabama. SEC’s exploration and production activities are primarily located in East
 Texas, North Louisiana, South Mississippi, South Alabama and the Florida Panhandle. SEC is



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 also developing properties and opportunities in the western United States, though no oil or gas
 production has been produced from the wells in the western United States.
        4.      Sklarco is a Louisiana limited liability company engaged in business as the owner
 of certain oil and gas leases and property interests in East Texas, North Louisiana, South
 Mississippi, South Alabama, the Florida Panhandle, and the western United States.
        5.      While SEC is the operator of the wells, it does not have an interest in any of the
 mineral leases. As the operator of the wells, SEC must incur expenses in the ordinary course of
 business to maintain the wells in good working order and to maintain production. Expenses
 typically include utilities for the operation of the wells and labor and materials used in the
 operation of the wells.
        6.      In accordance with the operating agreements associated with the operated
 properties, working interest (“WI”) holders are required to pay their proportionate share of the
 expenses associated with operating the well in which they hold a working interest through
 payment of Joint Interest Billings (“JIBs”) issued by SEC.
        7.      Pre-petition, certain WI holders requested that SEC net their JIBs against their
 revenue for convenience and administrative convenience. SEC also retains the right under the
 applicable operating agreements to net JIBs against revenue in the event that a WI holder is non-
 compliant in paying its JIBs.
        8.      As the Debtors have made abundantly clear through the motions filed and at
 hearings in this case, the continued payment of JIBs by WI holders is crucial to SEC’s continued
 operations and successful maintenance of the wells.
        9.      Despite the continued obligation to pay JIBs, WI holders have repeatedly
 attempted to use the language in the heavily negotiated Oil and Gas Motion and Final Cash
 Collateral Order as a basis to avoid paying JIBs and in some instances to attempt to reduce their
 pre-petition claims.
        10.     The Oil and Gas Order states, in relevant part:
                Sklar Exploration Company, LLC is authorized to offset joint
                interest billing obligations owed to it against revenue owed to a
                working interest holder when expressly authorized to do so in
                writing by that working interest holder; provided, however, no
                such offset shall exceed the amount of revenues received post-
                petition that is specifically payable from Sklar Exploration
                Company, LLC, as operator, to the joint interest billing obligor

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        11.     The Final Cash Collateral further provides, in paragraph 2 starting on page 11:
        (b) The Budget shall provide, that at all times during these Bankruptcy Cases, Sklarco
        shall deposit 100% of the revenue received from non-operating working interests into the
        operating account of SEC, and SEC shall pay the revenues owing to the non-insider
        working interest holders in accordance with the Order Authorizing Payment of Working
        Interest Obligations and Limited Offset of Joint Interest Billing Obligations (Dct. No.
        317)

        (c) The Budget shall provide, and the Debtors shall, at all times during these Bankruptcy
        Cases, deposit 100% of the revenue received on account of non-operating working
        interests (“WIO Revenue”) into the revenue account maintained by SEC.
        . . . SEC shall account for receipt and deposit of WIO Revenue by working interest owner
        in accordance with best practices for the industry, and may not use funds due to non-
        insider working interest owner without that owner’s written consent. SEC shall pay WIO
        Revenue to the non-insider working interest holders in accordance with the Order
        Authorizing Payment of Working Interest Obligations and Limited Offset of Joint Interest
        Billing Obligations [Dkt. No. 317], which payments are indefeasible subject to rights and
        obligations under relevant Participation Agreements, Joint Operating Agreements, or
        similar agreements. Subject to the Budget, SEC and a non-insider working interest owner
        may agree in writing to offset any WIO Revenue due to that interest owner against any
        payments due from that WIO to SEC, including pre- and post-petition amounts due.

 (emphasis added)
       12.     These provisions were added to the Final Cash Collateral Order to ensure that
 revenue would continue to be paid to WI holders, and was intended to ensure that SEC could
 continue to operate under the applicable Participation Agreements and Operating Agreements,
 including undertaking collection efforts in accordance with such agreements. These provisions
 were not intended to prevent SEC from offsetting JIBs against revenue when a WI holder is
 refusing to pay its JIBs, nor was the intent to allow a noncompliant WI holder to reduce their
 pre-petition claim by refusing to pay pre-petition JIBs and instead demanding a setoff of against
 pre-petition revenue.
        13.     As part of SEC’s collection efforts, on or about June 29, 2020, SEC’s oil and gas
 counsel sent a demand letter to non-compliant working interest holders.
        14.     After issuing the demand letter, certain WI holders became compliant and paid
 the full balance of their JIBs, or otherwise authorized SEC to offset such amounts from post-
 petition revenue. Other WI holders again pointed to the Orders in an effort to avoid payment and
 reduce their pre-petition claims.



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         15.    On August 21, 2020, the Debtors again sent a demand letter through oil and gas
 counsel to non-compliant working interest holders. A sample of the August 21 letters is attached
 hereto as Exhibit A.
         16.    As of the date of filing this Motion, a number of WI holders have still refused to
 pay their JIBs, resulting in unpaid JIBs owed to SEC in the amount of approximately $1.8
 million. A list of those working interest holders who remain non-compliant and are refusing to
 pay JIBs is attached hereto as Exhibit B, which may be reduced if additional checks or payments
 are received. Of the non-compliant working interest holders, the first ten non-compliant working
 interest holders account for approximately 48% of the total amount owed to SEC for unpaid
 JIBs.
         17.    To avoid uncertainty in the interpretation of the Final Cash Collateral Order and
 Oil and Gas Order, the Debtors request clarification that the Final Cash Collateral Order:
                a.      Requires SEC to pay revenue to WI holders subject to the applicable
                Participation Agreements, Joint Operating Agreements, and any other applicable
                agreement;
                b.      Does not limit SEC’s ability to undertake collection efforts in accordance
                with the applicable Participation Agreements, Joint Operating Agreements, and
                any other applicable agreements, including without limitation, offsetting unpaid
                JIBs against post-petition revenue owed to a WI holder and/or foreclosing on a
                non-compliant WI holder’s interest;
                c.      Does not require written consent from a non-compliant WI holder prior to
                SEC exercising its rights under the applicable agreements to offset JIBs against
                revenue; and
                d.      Does not allow WI holders to offset unpaid JIBs against pre-petition
                revenue owed to such WI holder or pre-petition cash call advances.
         18.    To proceed with further collection efforts of JIBs, SEC further requests
 authorization to immediately offset JIBs owed by noncompliant WI holders as identified on
 Exhibit B against post-petition revenue owed to such WI holders.
         19.    If SEC cannot offset the unpaid JIBs it is owed from post-petition revenue owed
 to WI holders, SEC will be forced to pay all expenses associated with operating the wells
 without receiving any of the revenue from the oil and gas produced by the wells. This will result

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 in the rapid depletion of SEC’s estate to the detriment of all creditors while the non-compliant
 WI holders continue to derive the benefit of SEC’s continued operation of the wells. Put
 differently, non-compliant WI holders are expecting SEC to work for free and reduce the WI
 holders’ pre-petition claims in the process.
        20.     Clarification of the Final Cash Collateral Order and the Oil and Gas Order, and
 authorization for SEC to immediately offset JIBs from post-petition revenue is in the best
 interests of SEC, its creditors, and its estate. Clarification of the Orders will ensure that the SEC
 can continue to exercise its rights under the applicable Participation Agreements and Joint
 Operating Agreements, and will avoid confusion over the interpretation of the Orders.
 Authorizing immediate offsets of JIBs against post-petition revenue for non-compliant WI
 holders will further ensure that SEC can diligently pursue collection efforts to maximize the
 value of the estate, and will avoid the need for SEC to commence adversary proceedings and
 turnover actions against each non-compliant WI holder.
        21.     Without clarification of the Orders, SEC will continue to struggle with collection
 of its JIBs from certain WI holders who are intentionally taking advantage of ambiguities in the
 Orders, and will be inhibited from exercising all of its rights as an operator under the applicable
 Participation Agreements and Operating Agreements
        22.     Furthermore, SEC will be forced to incur substantial additional legal fees in
 connection with pursuing collection efforts against non-complaint WI holders through turnover
 actions and adversary proceedings.
        23.     Counsel for the Debtor has conferred with counsel for East West Bank and
 counsel for the Committee. EWB has advised that they do not oppose the Motion. The
 Committee has taken no position.
        24.     Accordingly, clarification of the Final Cash Collateral Order and the Oil and Gas
 Order, and authorization to allow SEC to immediately offset JIBs against post-petition revenue
 owed to non-compliant WI holders is warranted.
                           [remainder of page intentionally left blank]




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        WHEREFORE, the Debtors pray the Court make and enter an Order clarifying the Oil
 and Gas Order and the Final Cash Collateral Order, authorizing SEC to immediately offset JIBs
 against post-petition revenue owed to non-complaint WI holders, and for such further and
 additional relief as to the Court may appear just and proper.
 DATED: September 4, 2020                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on September 4, 2020, I served a complete copy of the foregoing MOTION
 FOR CLARIFICATION OF ORDERS AND TO AUTHORIZE IMMEDIATE OFFSET
 OF JOINT INTEREST BILLING OBLIGATIONS on the following parties in compliance
 with the Federal Rules of Bankruptcy Procedure and the Court’s Local Rules:


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